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By CM/ECF                                                         April 9, 2025

Patricia S. Dodszuweit
Office of the Clerk
U.S. Court of Appeals for the Third Circuit
James A. Byrne United States Courthouse
601 Market Street
Philadelphia, PA 19106


       Re: Janssen Pharmaceuticals, Inc. v. Secretary of Dept. of Health &
             Human Services et al., No. 24-1821 (argued Oct. 30, 2024)

Dear Ms. Dodszuweit:

       During oral argument in Novo Nordisk Inc. v. Dept. of Health & Human Services, No. 24-
2510, the Government raised a new defense regarding the manufacturers’ First Amendment
claims. Specifically, counsel incorrectly asserted that the Program does not compel speech
because the Manufacturer Agreements are not public.1

         The text of the Agreement is publicly available on CMS’s website.2 CMS has also published
a list of companies that signed the Agreement, and the President remarked that the Program
brought the manufacturers to the negotiating table.3 Thus, anyone can know not only which
manufacturers engaged in the Program’s performative “negotiation” process, but also what those
manufacturers were compelled to do and say as part of that process—including the terms of the
documents they signed. Manufacturers could disclaim those value-laden actions and statements
(e.g., in private market negotiations) “only at the price of evident hypocrisy.” USAID v. Alliance
for Open Soc’y, 570 U.S. 205, 219 (2013).

        Regardless, speech is no less subject to First Amendment protection when it is made only
to the Government. Thus, in NetChoice, LLC v. Bonta, 113 F.4th 1101, 1117-18 (9th Cir. 2024), the


1 See Oral Arg. Recording 39:55-42:00, https://www2.ca3.uscourts.gov/oralargument/audio/24-

2510_NovoNordiskIncv.SecUSDeptHealthHumanServices.mp3 (Apr. 8, 2025).
2 https://www.cms.gov/files/document/inflation-reduction-act-manufacturer-agreement-

template.pdf.
3   CMS,     Negotiated       Prices    for     Initial  Price     Applicability  Year    2026,
https://www.cms.gov/newsroom/fact-sheets/medicare-drug-price-negotiation-program-
negotiated-prices-initial-price-applicability-year-2026 (Aug. 15, 2024); Janssen Opening Br. 44-
45.
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court rejected an argument similar to the one raised by the Government here—that statements
were not protected because they were made in “confidential” materials rather than “public
documents.” “[N]o authority” supports that position, the court explained; “[o]n the contrary, the
Supreme Court has recognized [that] the First Amendment may apply even when the compelled
speech need only be disclosed to the government.” Id. (citing Americans for Prosperity Found.
v. Bonta, 594 U.S. 595, 616 (2021)).

        Finally, the Government suggested in Novo that applying the First Amendment would
flood the courts with contract-based claims.4 The Supreme Court rejected that rationale in O’Hare
Truck Service, Inc. v. City of Northlake, 518 U.S. 712, 724 (1996), finding “little reason to accept”
the view that recognizing First Amendment protections for contractors would “lead to numerous
lawsuits.”

                                                                    Sincerely,

                                                                    /s/ Kevin F. King

                                                                    Kevin F. King
                                                                    Counsel for Appellant
                                                                    Janssen Pharmaceuticals,
                                                                    Inc.

cc: counsel of record




4 See Oral Arg. at 42:50-44:27.
